     Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 1 of 12




                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


UNITED STATES OF AMERICA


V.                                                   CR 218-14


RICHARD CARTER




                                 PLEA AGREEMENT


        Defendant, Richard Carter, represented by his counsel Tom A. Peterson IV,

Esq., and the United States of America, represented by Assistant United States

Attorney Matthew A. Josephson, have reached a plea agreement in this case. The

terms and conditions of that agreement are as follows.

1.      Guilty Plea


        Defendant agrees to enter a plea of guilty to the lesser included offense of

Count 23 of the Indictment, which charges Possession of Controlled Substance with

Intent to Distribute (a quantity of Marijuana), in violation of 21 U.S.C. § 841(a)(1)

and 18 U.S.C. § 2. At sentencing, the government will move to dismiss all remaining

counts against Defendant.

2.      Elements and Factual Basis


        The elements necessary to prove the lesser included offense of Count 23 are as

follows:


        FIRST:        The Defendant knowingly possessed marijuana, a schedule I
                      controlled substance;

        SECOND:       The Defendant intended to distribute the marijuana.
     Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 2 of 12




        Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:

        On or about August 29, 2017, in Glynn County, within the Southern District

of Georgia, the defendant, Richard Carter, being aided and abetted by the others,

including John Eugene Overcash, did knowingly and intentionally possess a quantity

of marijuana, a Schedule I controlled substance, with the intent to distribute. All in

violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States

Code, Section 2.

3.      Possible Sentence


        Defendant's guilty plea to the lesser included offense of Count 23 will subject

him to a maximum sentence of imprisonment of 5 years; not more than 2 years of

supervised release; not more than a $250,000 fine; and such restitution as may be

ordered by the Court. The Court additionally must impose a $100 special assessment

per count of conviction.

4.      No Promised Sentence


        No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.      Court's Use of Guidelines
     Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 3 of 12




         The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § 1BI.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.      Agreements Regarding Sentencing Guidelines


         a.      Acceptance of Resnonsibilitv


        The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3E 1.1(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3E 1.1(b) based on Defendant's timely notification of his intention to enter a guilty

plea.

        b.       Use of Information


        The government is free to provide full and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing Guidelines

range.        Any incriminating information provided by the defendant during his
     Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 4 of 12




cooperation will not be used in determining the applicable Guidelines range,

pursuant to U.S.S.G. § 1B1.8.

7.      Dismissal of Other Counts


        At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.      Financial Obligations and Agreements


        a.    Restitution


        The amount of restitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

        b.    Special Assessment


        Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

        c.    Required Financial Disclosures


        By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's
  Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 5 of 12




Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents of those reports

with the Court and the United States Probation Office. Defendant also authorizes


the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination


        Defendant will submit to an examination under oath on the issue of his


financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets


        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        f.    Material Change in Circumstances


        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        g.    Enforcement
     Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 6 of 12




        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the


financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment of the

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

9.      Waivers


        a.    Waiver of Appeal


        Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope ofthe statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

        b.    Waiver of Collateral Attack


        Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.
  Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 7 of 12




§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.


       c.     FOIA and Privacv Act Waiver


       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

       d.    Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver


       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

10.    Defendant's Rights


      Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine
  Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 8 of 12




adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

11.   Satisfaction with Counsel


      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

12.   Breach of Plea Agreement


      Defendant breaches this agreement if, prior to sentencing in his case, he fails

to comply with any of the terms of this agreement, withdraws or attempts to

withdraw his guilty plea, refuses to accept responsibility for his criminal conduct,

obstructs justice, tampers with witnesses or evidence, or commits any new crimes. If

Defendant breaches the plea agreement, the government is released from any

agreement herein regarding the calculation of the advisory Sentencing Guidelines or

the appropriate sentence. Additionally, such a breach by the defendant will be a

breach of his cooperation agreement, thereby allowing the government to use all

otherwise proffer-protected information at sentencing. In addition, the government

may (1) declare the plea agreement null and void,(2) reinstate any counts that may

have been dismissed pursuant to the plea agreement, and/or (3) file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.



                                         8
  Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 9 of 12




13.   Entire Agreement


      This agreement contains the entire agreement between the government and

Defendant.




                         Signatures on following page
   Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 10 of 12




                                 BOBBY L. CHRISTINE
                                 UNITEaSTAT^ ATTORNEY




                                 Brian^.feffert^
                                 New York Bar No. 2809440
                                 Chief, Criminal Division




       2.^
Da^e                             Matthew A. Josephson
                                 Georgia Bar. No. 367216
                                 Assistant United States Attorney




                                   10
 Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 11 of 12




       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




Date                                    Richard Carter, Defendant


       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter intqjihis agreement is an

informed, intelligent, and voluntary one.




Date                                    Tom ^ Peterson IV
                                        Defeiroant's Attorney




                                            11
 Case 2:18-cr-00014-LGW-BWC Document 425 Filed 09/21/18 Page 12 of 12




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
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UNITED STATES OF AMERICA


V.                                                  CR 218-14


RICHARD CARTER



                                      ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.




             This 2-1   .day of.




                                JUDGE/tlNlTED STATES DISTlilQT COURT
                                SOWTHERNDISTRICT of GEORG]
